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                EXHIBIT A
                             JUROR
            Case 4:21-cr-00268-O     QUESTIONNAIRE
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                                                                                                  #: 1026
The case before you is United States v. M ark Forkner. Mr. Forkner is charged with wire fraud and fraud in
connection with aircraft parts in interstate commerce with regards to the Boeing 737 MAX aircraft. Please
answer all the questions contained in this questionnaire. Please use the last page if you need more room to
complete your answers to these questions.


1.     Full Name:                                                                                Age:
2.     Where do you work and what is your job? If unemployed or retired, please answer for last job held:


3.     What jobs have you held in the past?
4.     Have you ever been responsible for hiring, firing or supervising employees?        YES     NO
5.     How far did you go in school? If college, please list any degree(s) you have received:


6.     For any other person in your household, where do they work and what is their job? If not employed, what/where was
       their last job held?
7.     Have you, any family members or close friends ever worked for or done business with any local, state, or federal law
       enforcement agency, or the Federal Aviation Administration (FAA)?  YES  NO If YES, who and what agency?




8.     Do you or any close friends or family members work for The Boeing Company or any U.S.-based airline?
        YES  NO If YES, which company/airline and what is the nature of their job:


9.     Have you heard or read about Mark Forkner or this case?  YES  NO If YES:
       a. How many times?               b. What have you seen, heard or read?


10.    Have you formed any opinions about whether Mark Forkner is guilty of the charges against him?
        YES  MAYBE            NO If YES or MAYBE, please explain:


11.    What are your feelings about flying on a Boeing 737 MAX?


12.    Is there anything about your airplane travel experience that would affect your ability to be a fair and impartial juror
       in this case?  YES  NO If YES, please explain:


13.    How many times have you served as a juror in:
        Civil case           times  Criminal case           times  Grand jury              times  Never served
       a.      What type(s) of criminal case(s)?
       b.      Did the jury reach a verdict?  YES     NO
       c.      Were you ever the foreperson?  YES        NO
14.    Other than a traffic ticket, have you, any family members or close friends ever been accused, arrested, indicted,
       charged, pled guilty to, convicted or acquitted of any criminal offense?  YES  NO If YES, please explain:

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15.   Please list three words to describe yourself:
      a.                                      b.                                       c.
16.   What are your usual sources for national news? Feel free to list as many as apply:


17.   Please list the 3 people you admire most:
      a.                                      b.                                       c.
18.   Please list the 3 people you admire least:
      a.                                      b.                                       c.
19.   Do you have any strong feelings one way or the other about the U.S. Department of Justice, the police, or any other
      law enforcement agency such as the FBI that you believe could possibly affect your ability to be a fair and impartial
      juror in this case?  YES  NO If YES, please explain:


20.   Do you have any strong feelings about the Federal Aviation Administration or any other government agency that you
      believe could possibly affect your ability to be a fair and impartial juror in this case?  YES  NO If YES, please
      explain:


21.   Do you have any strong feelings about required professional training that you believe could possibly affect your ability
      to be a fair and impartial juror in this case?  YES  NO If YES, please explain:


22.   Have you or has anyone you know well ever worked in a regulated industry?  YES  NO If YES:
      a. Which industry?
      b. Is there anything about that experience that could possibly affect your ability to be a fair and impartial juror in
           this case?  YES  NO If YES, please explain:


23.   Do you hold any views, beliefs, or opinions that would make it difficult for you to sit in judgment of another person?
       YES  NO If YES, please explain:


24.   The defendant is presumed to be innocent of the charges in this case: It is the government’s burden to prove the
      defendant guilty of the charges beyond a reasonable doubt. If you conclude that the government has met its burden
      of proof on a particular charge, will you be able to return a verdict of guilty as to that charge?  YES  NO If NO,
      please explain:


25.   If you conclude that the government has not met its burden of proof on a particular charge, will you be able to return
      a verdict of not guilty as to that charge?  YES  NO If NO, please explain:


26.   Is there any information from this questionnaire or otherwise that you believe would impact whether you can be a
      fair and impartial juror in this case?  YES  NO If YES, please explain:




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        Additional
       Case         Space for
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                            Document   (please
                                     99-1       include the
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